                         IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,1
                                                                  Joint Administration Requested
                                 Debtors.


     DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING
   THE EMPLOYMENT AND RETENTION OF PRIME CLERK LLC AS CLAIMS,
 NOTICING AND SOLICITATION AGENT EFFECTIVE AS OF THE PETITION DATE

              Remington Outdoor Company, Inc. and its affiliated debtors, as debtors and debtors in

 possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter

 11 Cases”) hereby file this application (the “Application”) for entry of an order, pursuant to

 section 156(c) of title 28 of the United States Code, sections 105(a) and 327(a) of title 11 of the

 United States Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”), Rules 2002(f), 2014(a),

 2016, and 6003 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

 Rule 2016-1 of the Local Rules of the United States Bankruptcy Court Northern District of

 Alabama (the “Local Bankruptcy Rules”), authorizing the employment and retention of Prime

 Clerk LLC (“Prime Clerk”) as claims, noticing and solicitation agent (the “Claims, Noticing and

 Solicitation Agent”) in the Chapter 11 Cases effective as of the Petition Date (as defined below).

 In support of the Application, the Debtors submit the Declaration of Benjamin J. Steele in Support




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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
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 of Debtors’ Application for Entry of an Order Authorizing the Employment and Retention of Prime

 Clerk LLC as Claims, Noticing and Solicitation Agent Effective as of the Petition Date (the “Steele

 Declaration”), attached hereto as Exhibit A, and respectfully represent as follows:

                                     JURISDICTION AND VENUE

               1.   This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334.

  This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2), and the Court may

  enter a final order consistent with Article III of the United States Constitution. The Debtors

  confirm their consent to the entry of a final order by the Court in connection with this Application

  to the extent that it is later determined that the Court, absent consent of the parties, cannot enter

  final orders or judgments in connection herewith consistent with Article III of the United States

  Constitution.

               2.   Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409 and Local Bankruptcy

  Rule 1073-1.

               3.   The statutory and procedural predicates for the relief requested herein are 28 U.S.C.

  § 156(c), Bankruptcy Code sections 105(a), 327, 328(a), and 1107, Bankruptcy Rules 2002(f),

  2014(a), 2016, and 6003, and Local Bankruptcy Rule 2016-1.

                                             BACKGROUND

               4.   On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

  petition for relief under chapter 11 of the Bankruptcy Code. The Debtors continue to operate their

  businesses as debtors and debtors in possession pursuant to sections 1107(a) and 1108 of the

  Bankruptcy Code. No party has requested the appointment of a trustee or examiner and no




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  committee has been appointed or designated in these Chapter 11 Cases. The Debtors’ request for

  joint administration of these Chapter 11 Cases for procedural purposes only is currently pending.

               5.   The Debtors are one of America’s oldest and largest manufacturers of firearms,

  ammunition and related products for commercial, military, and law enforcement customers

  throughout the world. The Debtors employ approximately 2,100 full-time employees and operate

  seven manufacturing facilities located across the United States.             The Debtors’ corporate

  headquarters is located in Huntsville, Alabama.

               6.   Additional information regarding the Debtors’ businesses, assets, capital structure,

  and the circumstances leading to the filing of these Chapter 11 Cases is set forth in the Declaration

  of Ken D’Arcy in Support of Chapter 11 Petitions and First Day Pleadings of Remington Outdoor

  Company, Inc. and its Affiliated Debtors and Debtors in Possession (the “First Day

  Declaration”), filed contemporaneously herewith and incorporated by reference herein.

                                         RELIEF REQUESTED

               7.   By this Application, the Debtors request entry of an order, substantially in the form

  attached hereto as Exhibit B (the “Proposed Order”), to employ and retain Prime Clerk as the

  Claims, Noticing and Solicitation Agent for the Debtors and their Chapter 11 Cases to, among

  other things: (a) serve as the noticing agent to mail notices to the estates’ creditors, equity security

  holders, and parties in interest; (b) provide computerized claims, objection, solicitation, and

  balloting database services; and (c) provide expertise, consultation, and assistance in claim and

  ballot processing and other administrative services with respect to the Debtors’ Chapter 11 Cases,

  in accordance with the terms and conditions of that certain engagement agreement executed on

  May 12, 2020, including any amendments and schedules thereto and attached as Exhibit 1 to the

  Proposed Order (the “Engagement Agreement”). The Debtors’ selection of Prime Clerk to act

  as the Claims, Noticing and Solicitation Agent is appropriate under the circumstances and in the
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  best interests of the Debtors’ estates. The Debtors submit that, based on all engagement proposals

  obtained and reviewed, Prime Clerk’s rates are competitive and reasonable given Prime Clerk’s

  quality of services and expertise. The terms of Prime Clerk’s retention are set forth in the

  Engagement Agreement.

               8.   Although the Debtors have not yet filed their schedules of assets and liabilities, they

  anticipate that there will be thousands of parties to be noticed. In view of the number of

  anticipated notice parties and the complexity of the Debtors’ businesses, the Debtors submit that

  the appointment of a claims, noticing and solicitation agent (a) will provide the most effective

  and efficient means of, and relieve the Debtors and/or the Office of the Clerk of the Bankruptcy

  Court (the “Clerk”) of, the administrative burden of noticing, administering claims, and soliciting

  and tabulating votes and (b) is in the best interests of both the Debtors’ estates and their creditors.

                                  BASIS FOR RELIEF REQUESTED

           A.       Prime Clerk’s Qualifications

               9.   Prime Clerk is comprised of leading industry professionals with significant

  experience in both the legal and administrative aspects of large, complex chapter 11 cases. Prime

  Clerk’s professionals have experience in noticing, claims administration, solicitation, balloting

  and facilitating other administrative aspects of chapter 11 cases and experience in matters of this

  size and complexity. Prime Clerk’s professionals have acted as debtor’s counsel or official claims,

  noticing and solicitation agent in many large bankruptcy cases in various districts nationwide.

  Prime Clerk’s active and former cases include, among others: J.C. Penney Co., Inc., No. 20-

  20182 (DRJ) (Bankr. S.D. Tex.); Sheridan Holding Co. I, LLC, No. 20-31884 (DRJ) (Bankr. S.D.

  Tex.); McDermott Int’l, Inc., No. 20-30336 (DRJ) (Bankr. S.D. Tex.); Kingfisher Midstream,

  LLC, No. 19-35133 (MI) (Bankr. S.D. Tex.); EP Energy Corp., No. 19-35654 (MI) (Bankr. S.D.

  Tex.); Sheridan Holding Co. II, LLC, No. 19-35198 (MI) (Bankr. S.D. Tex.); Alta Mesa Res.,
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  Inc., No. 19-35133 (MI) (Bankr. S.D. Tex.); Sanchez Energy Corp., No. 19-34508 (MI) (Bankr.

  S.D. Tex.); Weatherford Int’l plc, No. 19-33694 (DRJ) (Bankr. S.D. Tex.); Monitronics Int’l, Inc.,

  No. 19-33650 (DRJ) (Bankr. S.D. Tex.); Deluxe Ent. Servs. Group Inc., No. 19-23774 (RDD)

  (Bankr. S.D.N.Y.); Purdue Pharma L.P., No. 19-23649 (RDD) (Bankr. S.D.N.Y.); Paddock

  Enters., LLC, No. 20-10028 (LSS) (Bankr. D. Del); High Ridge Brands Co., No. 19-12689 (BLS)

  (Bankr. D. Del); PHI, Inc., No. 19-30923 (HDH) (Bankr. N.D. Tex.); Payless Holdings LLC, No.

  19-40883 (Bankr. E.D. Mo.); and PG&E Corp., No. 19-30088 (DM) (Bankr. N.D. Cal.).

           B.        Services to be Provided

               10.   This Application pertains to the work to be performed by Prime Clerk under

  Bankruptcy Code section 327(a) and under the Clerk’s delegation of duties permitted by 28

  U.S.C. § 156(c). Under the Engagement Agreement, Prime Clerk will perform the following

  services in its role as Claims, Noticing and Solicitation Agent, at the request of the Debtors or the

  Clerk:

                     (a)   Assist the Debtors with the preparation and distribution of all required
                           notices and documents in these Chapter 11 Cases in accordance with the
                           Bankruptcy Code and the Bankruptcy Rules in the form and manner
                           directed by the Debtors and/or the Court, including (i) notice of the
                           commencement of these Chapter 11 Cases and the initial meeting of
                           creditors under Bankruptcy Code section 341(a), (ii) notice of any claims
                           bar date, (iii) notices of transfers of claims, (iv) notices of objections to
                           claims and objections to transfers of claims, (v) notices of any hearings on
                           a disclosure statement and confirmation of the Debtors’ plan or plans of
                           reorganization, including under Bankruptcy Rule 3017(d), (vi) notice of the
                           effective date of any plan and (vii) all other notices, orders, pleadings,
                           publications and other documents as the Debtors or Court may deem
                           necessary or appropriate for an orderly administration of these Chapter 11
                           Cases;

                     (b)   Maintain an official copy of the Debtors’ schedules of assets and liabilities
                           and statements of financial affairs (collectively, the “Schedules”), listing
                           the Debtors’ known creditors and the amounts owed thereto;

                     (c)   Maintain (i) a list of all potential creditors, equity holders and other parties-
                           in-interest and (ii) a “core” mailing list consisting of all parties described in
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                     Bankruptcy Rule 2002(i), (j) and (k) and those parties that have filed a
                     notice of appearance pursuant to Bankruptcy Rule 9010, and update and
                     make said lists available upon request by a party-in-interest or the Clerk;

               (d)   Furnish a notice to all potential creditors of the last date for filing proofs of
                     claim and a form for filing a proof of claim, after such notice and form are
                     approved by the Court, and notify said potential creditors of the existence,
                     amount and classification of their respective claims as set forth in the
                     Schedules, which may be effected by inclusion of such information (or the
                     lack thereof, in cases where the Schedules indicate no debt due to the subject
                     party) on a customized proof of claim form provided to potential creditors;

               (e)   Maintain a post office box or address for the purpose of receiving claims
                     and returned mail, and process all mail received;

               (f)   For all notices, motions, orders or other pleadings or documents served,
                     prepare and file or cause to be filed with the Clerk an affidavit or certificate
                     of service within seven business days of service which includes (i) either a
                     copy of the notice served or the docket number(s) and title(s) of the
                     pleading(s) served, (ii) a list of persons to whom it was mailed (in
                     alphabetical order) with their addresses, (iii) the manner of service and
                     (iv) the date served;

               (g)   Process all proofs of claim received, including those received by the Clerk,
                     check said processing for accuracy and maintain the original proofs of claim
                     in a secure area;

               (h)   Provide an electronic interface for filing proofs of claim;

               (i)   Maintain the official claims register for each Debtor (collectively, the
                     “Claims Registers”) on behalf of the Clerk; upon the Clerk’s request,
                     provide the Clerk with certified, duplicate unofficial Claims Registers; and
                     specify in the Claims Registers the following information for each claim
                     docketed: (i) the claim number assigned, (ii) the date received, (iii) the name
                     and address of the claimant and agent, if applicable, who filed the claim,
                     (iv) the amount asserted, (v) the asserted classification(s) of the claim (e.g.,
                     secured, unsecured, priority, etc.), (vi) the applicable Debtor and (vii) any
                     disposition of the claim;

               (j)   Provide public access to the Claims Registers, including complete proofs of
                     claim with attachments, if any, without charge;

               (k)   Implement necessary security measures to ensure the completeness and
                     integrity of the Claims Registers and the safekeeping of the original claims;

               (l)   Record all transfers of claims and provide any notices of such transfers as
                     required by Bankruptcy Rule 3001(e);

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               (m)   Relocate, by messenger or overnight delivery, all of the court-filed proofs
                     of claim to the offices of Prime Clerk, not less than weekly;

               (n)   Upon completion of the docketing process for all claims received to date for
                     each case, turn over to the Clerk copies of the Claims Registers for the
                     Clerk’s review (upon the Clerk’s request);

               (o)   Monitor the Court’s docket for all notices of appearance, address changes,
                     and claims-related pleadings and orders filed and make necessary notations
                     on and/or changes to the claims register and any service or mailing lists,
                     including to identify and eliminate duplicative names and addresses from
                     such lists;

               (p)   Identify and correct any incomplete or incorrect addresses in any mailing or
                     service lists;

               (q)   Assist in the dissemination of information to the public and respond to
                     requests for administrative information regarding these Chapter 11 Cases as
                     directed by the Debtors or the Court, including through the use of a case
                     website and/or call center;

               (r)   Monitor the Court’s docket in these Chapter 11 Cases and, when filings are
                     made in error or containing errors, alert the filing party of such error and
                     work with them to correct any such error;

               (s)   Comply with applicable federal, state, municipal, and local statutes,
                     ordinances, rules, regulations, orders, and other requirements;

               (t)   If these Chapter 11 Cases are converted to cases under chapter 7 of the
                     Bankruptcy Code, contact the Clerk’s office within three days of notice to
                     Prime Clerk of entry of the order converting the cases;

               (u)   Thirty days prior to the close of these Chapter 11 Cases, to the extent
                     practicable, request that the Debtors submit to the Court a proposed order
                     dismissing Prime Clerk as Claims, Noticing and Solicitation Agent and
                     terminating its services in such capacity upon completion of its duties and
                     responsibilities and upon the closing of these Chapter 11 Cases;

               (v)   Within seven days of notice to Prime Clerk of entry of an order closing these
                     Chapter 11 Cases, provide to the Court the final version of the Claims
                     Registers as of the date immediately before the close of the Chapter 11
                     Cases;

               (w)   At the close of these Chapter 11 Cases, (i) box and transport all original
                     documents, in proper format, as provided by the Clerk’s office, to (A) the
                     Philadelphia Federal Records Center, 14700 Townsend Road, Philadelphia,
                     PA 19154-1096 or (B) any other location requested by the Clerk’s office;

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                       and (ii) docket a completed SF-135 Form indicating the accession and
                       location numbers of the archived claims;

                (x)    Assist the Debtors with, among other things, plan solicitation services
                       including: (i) balloting; (ii) distribution of applicable solicitation materials;
                       (iii) tabulation and calculation of votes; (iv) determining with respect to
                       each ballot cast, its timeliness and its compliance with the Bankruptcy Code,
                       Bankruptcy Rules, Local Bankruptcy Rules, and procedures ordered by this
                       Court; (v) preparing an official ballot certification and testifying, if
                       necessary, in support of the ballot tabulation results; and (vi) in connection
                       with the foregoing services, process requests for documents from parties in
                       interest, including, if applicable, brokerage firms, bank back-offices and
                       institutional holders;

                (y)    If requested, assist with the preparation of the Debtors’ Schedules and
                       gather data in conjunction therewith;

                (z)    Provide a confidential data room, if requested;

                (aa)   Coordinate publication of certain notices in periodicals and other media;

                (bb)   Manage and coordinate any distributions pursuant to a chapter 11 plan; and

                (cc)   Provide such other processing, solicitation, balloting, and other
                       administrative services described in the Engagement Agreement, that may
                       be requested from time to time by the Debtors, the Court, or the Clerk.

         11.    The Claims Registers shall be open to the public for examination without charge

  during regular business hours and on a case-specific website maintained by Prime Clerk.

        C.      Professional Compensation

         12.    The Debtors respectfully request that the undisputed fees and expenses incurred by

  Prime Clerk in the performance of the above services be treated as administrative expenses of the

  Debtors’ chapter 11 estates pursuant to 28 U.S.C. § 156(c) and section 503(b)(1)(A) of the

  Bankruptcy Code and be paid in the ordinary course of business pursuant to the Engagement

  Agreement without further application to or order of the Court.

         13.    Prime Clerk agrees to (a) maintain records of all services showing dates, categories

  of services, fees charged and expenses incurred, and (b) serve monthly invoices on the Debtors,

  the Bankruptcy Administrator for the Northern District of Alabama (the “Bankruptcy
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  Administrator”), counsel for the Debtors, counsel for any official committee monitoring the

  expenses of the Debtors, and any party-in-interest who specifically requests service of the

  monthly invoices. If any dispute arises relating to the Engagement Agreement or monthly

  invoices, the parties shall meet and confer in an attempt to resolve the dispute. If resolution is

  not achieved, the parties may seek resolution of the matter from the Court.

               14.   Prior to the Petition Date, the Debtors provided Prime Clerk an advance in the

  amount of $50,000. Prime Clerk seeks to first apply the advance to all prepetition invoices, and

  thereafter, to have the advance replenished to the original advance amount, and thereafter, to hold

  the advance under the Engagement Agreement during these Chapter 11 Cases as security for the

  payment of fees and expenses incurred under the Engagement Agreement.

               15.   Additionally, under the terms of the Engagement Agreement, the Debtors have

  agreed to indemnify, defend and hold harmless Prime Clerk and its members, officers, employees,

  representatives, affiliates, consultants, subcontractors and agents (collectively, the “Indemnified

  Parties”) under certain circumstances specified in the Engagement Agreement, except in

  circumstances resulting solely from Prime Clerk’s gross negligence or willful misconduct or as

  otherwise provided in the Engagement Agreement or Proposed Order (the “Indemnification

  Provisions”). The Debtors believe that the Indemnification Provisions are customary, reasonable,

  and necessary to retain the services of a claims, noticing and solicitation agent in these Chapter

  11 Cases.

           D.        Disinterestedness

           16.       Prime Clerk has reviewed its electronic database to determine whether it has any

 relationships with the creditors and parties in interest provided by the Debtors, and, to the best of

 the Debtors’ knowledge, information, and belief, and except as disclosed in the Steele Declaration,


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 Prime Clerk has represented that it neither holds nor represents any interest materially adverse to

 the Debtors’ estates in connection with any matter on which it would be employed.

           17.   To the best of the Debtors’ knowledge, Prime Clerk is a “disinterested person” as

 that term is defined in Bankruptcy Code section 101(14), as modified by Bankruptcy Code section

 1107(b), as Prime Clerk represents in the Steele Declaration, among other things, that:

                 (a)    Prime Clerk, its members, and employees are not and were not, within two
                        years before the date of the filing of these Chapter 11 Cases, creditors,
                        equity security holders, insiders, or employees of the Debtors;

                 (b)    Prime Clerk will not consider itself employed by the United States
                        government and shall not seek any compensation from the United States
                        government in its capacity as the Claims, Noticing and Solicitation Agent
                        in these Chapter 11 Cases;

                 (c)    By accepting employment in these Chapter 11 Cases, Prime Clerk waives
                        any rights to receive compensation from the United States government in
                        connection with these Chapter 11 Cases;

                 (d)    In its capacity as the Claims, Noticing and Solicitation Agent in these
                        Chapter 11 Cases, Prime Clerk will not be an agent of the United States and
                        will not act on behalf of the United States;

                 (e)    Prime Clerk will not employ any past or present employees of the Debtors
                        in connection with its work as the Claims, Noticing and Solicitation Agent
                        in these Chapter 11 Cases;

                 (f)    Prime Clerk is a “disinterested person” as that term is defined in section
                        101(14) of the Bankruptcy Code with respect to the matters upon which it
                        is to be engaged;

                 (g)    In its capacity as Claims, Noticing and Solicitation Agent in these Chapter
                        11 Cases, Prime Clerk will not intentionally misrepresent any fact to any
                        person;

                 (h)    Prime Clerk shall be under the supervision and control of the Clerk’s office
                        with respect to the receipt and recordation of claims and claim transfers;

                 (i)    Prime Clerk will comply with all requests of the Clerk’s office and the
                        guidelines promulgated by the Judicial Conference of the United States for
                        the implementation of 28 U.S.C. § 156(c); and



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                     (j)    None of the services provided by Prime Clerk as Claims, Noticing and
                            Solicitation Agent in these Chapter 11 Cases shall be at the expense of the
                            Clerk’s office.

 Prime Clerk will supplement its disclosure to the Court if any facts or circumstances are discovered

 that would require such additional disclosure.

               18.   To the extent that there is any inconsistency between this Application, the Proposed

  Order and the Engagement Agreement, the Proposed Order shall govern.

                                                  NOTICE

               19.   Notice of the hearing on the relief requested in this Application will be provided by

  the Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014, as well as

  applicable Local Bankruptcy Rules, and is sufficient under the circumstances. The Debtors will

  provide notice of this Application to the following parties-in-interest: (i) the Bankruptcy

  Administrator; (ii) the Debtors’ consolidated list of creditors holding the forty largest unsecured

  claims; (iii) counsel to Whitebox Advisors LLC, as Priority Term Loan Lender; (iv) counsel to

  Cantor Fitzgerald Securities, as Priority Term Loan Agent under the Debtors’ prepetition Priority

  Term Loan Credit Agreement; (v) counsel to Ankura Trust Company, LLC, as FILO Agent under

  the Debtors’ prepetition FILO Term Loan Agreement, and as Exit Term Loan Agent under the

  Debtors’ prepetition Exit Term Loan Agreement; (vi) counsel to Franklin Advisors, Inc., as FILO

  Lender; (vii) the United States Internal Revenue Service; (viii) counsel to the United Mine

  Workers of America; and (ix) all parties entitled to notice pursuant to Bankruptcy Rule 2002. In

  light of the nature of the relief requested, the Debtors submit that no other or further notice is

  necessary under the circumstances.

           WHEREFORE, the Debtors respectfully request entry of an order, substantially in the form

 attached hereto as Exhibit B, authorizing the employment and retention of Prime Clerk to act as


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 Claims, Noticing and Solicitation Agent for the Debtors as requested in this Application, and

 granting such other relief as may be just and proper under the circumstances.

 Dated: July 28, 2020

                                           /s/ Derek F. Meek
                                           BURR & FORMAN LLP
                                           Derek F. Meek
                                           Hanna Lahr
                                           420 20th Street North, Suite 3400
                                           Birmingham, AL 35203
                                           Telephone: (205) 251-3000
                                           Facsimile: (205) 458-5100
                                           Email: dmeek@burr.com
                                                   hlahr@burr.com

                                           - and -

                                           O’MELVENY & MYERS LLP
                                           Stephen H. Warren (pro hac vice admission pending)
                                           Karen Rinehart (pro hac vice admission pending)
                                           400 South Hope Street
                                           Los Angeles, CA 90071-2899
                                           Telephone: (213) 430-6000
                                           Facsimile: (213) 430-6407
                                           Email: swarren@omm.com
                                                  krinehart@omm.com

                                           Proposed Attorneys for the Debtors and Debtors in
                                           Possession




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                                  EXHIBIT A

                                Steele Declaration




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                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF ALABAMA
                                     NORTHERN DIVISION


     In re:                                                       Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                             Case No. 20-81688-11
     et al.,2
                                                                  Joint Administration Requested
                                 Debtors.


     DECLARATION OF BENJAMIN J. STEELE IN SUPPORT OF DEBTORS’
        APPLICATION FOR ENTRY OF AN ORDER AUTHORIZING THE
     EMPLOYMENT AND RETENTION OF PRIME CLERK LLC AS CLAIMS,
 NOTICING AND SOLICITATION AGENT EFFECTIVE AS OF THE PETITION DATE

              I, Benjamin J. Steele, make this declaration pursuant to 28 U.S.C. § 1746 and state as

 follows:

              1.     I am a Vice President of Prime Clerk LLC (“Prime Clerk”), a chapter 11

 administrative services firm whose headquarters are located at One Grand Central Place, 60 East

 42nd Street, Suite 1440, New York, New York 10165. I am duly authorized to make this

 declaration (the “Declaration”) on behalf of Prime Clerk and submit this Declaration in support

 of the above-captioned debtors’ (collectively, the “Debtors”) Application for Entry of an Order

 Authorizing the Employment and Retention of Prime Clerk LLC as Claims, Noticing and

 Solicitation Agent Effective as of the Petition Date, which was filed contemporaneously herewith

 (the “Application”).3



 2
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
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 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
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   Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Application.
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           2.   Except as otherwise noted in this Declaration, I have personal knowledge of the

 matters set forth herein, and if called and sworn as a witness, I could and would testify competently

 thereto.

           3.   Prime Clerk is comprised of leading industry professionals with significant

 experience in both the legal and administrative aspects of large, complex chapter 11 cases. Prime

 Clerk’s professionals have experience in noticing, claims administration, solicitation, balloting and

 facilitating other administrative aspects of chapter 11 cases and experience in matters of this size

 and complexity. Prime Clerk’s professionals have acted as debtor’s counsel or official claims,

 noticing and solicitation agent in many large bankruptcy cases in various districts nationwide.

 Prime Clerk’s active and former cases include, among others: J.C. Penney Co., Inc., No. 20-20182

 (DRJ) (Bankr. S.D. Tex.); Sheridan Holding Co. I, LLC, No. 20-31884 (DRJ) (Bankr. S.D. Tex.);

 McDermott Int’l, Inc., No. 20-30336 (DRJ) (Bankr. S.D. Tex.); Kingfisher Midstream, LLC, No.

 19-35133 (MI) (Bankr. S.D. Tex.); EP Energy Corp., No. 19-35654 (MI) (Bankr. S.D. Tex.);

 Sheridan Holding Co. II, LLC, No. 19-35198 (MI) (Bankr. S.D. Tex.); Alta Mesa Res., Inc., No.

 19-35133 (MI) (Bankr. S.D. Tex.); Sanchez Energy Corp., No. 19-34508 (MI) (Bankr. S.D. Tex.);

 Weatherford Int’l plc, No. 19-33694 (DRJ) (Bankr. S.D. Tex.); Monitronics Int’l, Inc., No. 19-

 33650 (DRJ) (Bankr. S.D. Tex.); Deluxe Ent. Servs. Group Inc., No. 19-23774 (RDD) (Bankr.

 S.D.N.Y.); Purdue Pharma L.P., No. 19-23649 (RDD) (Bankr. S.D.N.Y.); Paddock Enters., LLC,

 No. 20-10028 (LSS) (Bankr. D. Del); High Ridge Brands Co., No. 19-12689 (BLS) (Bankr. D.

 Del); PHI, Inc., No. 19-30923 (HDH) (Bankr. N.D. Tex.); Payless Holdings LLC, No. 19-40883

 (Bankr. E.D. Mo.); and PG&E Corp., No. 19-30088 (DM) (Bankr. N.D. Cal.).

           4.   As agent and custodian of Court records pursuant to 28 U.S.C. § 156(c), Prime

 Clerk will perform, at the request of the Clerk, the services specified in the Application and the


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 Engagement Agreement, and, at the Debtors’ request, any related administrative, technical and

 support services as specified in the Application and the Engagement Agreement. In performing

 such services, Prime Clerk will charge the Debtors the rates set forth in the Engagement

 Agreement, which is attached as Exhibit 1 to the Proposed Order.

           5.   Prime Clerk represents, among other things, the following:

                (a)    Prime Clerk, its members and employees are not and were not, within two
                       years before the date of filing of these Chapter 11 Cases, creditors, equity
                       security holders, insiders, or employees of the Debtors;

                (b)    Prime Clerk will not consider itself employed by the United States
                       government and shall not seek any compensation from the United States
                       government in its capacity as the Chairs and Noticing Agent in these
                       Chapter 11 Cases;

                (c)    By accepting employment in these Chapter 11 Cases, Prime Clerk waives
                       any rights to receive compensation from the United States government in
                       connection with these Chapter 11 Cases;

                (d)    In its capacity as the Claims, Noticing and Solicitation Agent in these
                       Chapter 11 Cases, Prime Clerk will not be an agent of the United States and
                       will not act on behalf of the United States;

                (e)    Prime Clerk will not employ any past or present employees of the Debtors
                       in connection with its work as the Claims, Noticing and Solicitation Agent
                       in these Chapter 11 Cases;

                (f)    Prime Clerk is a “disinterested person” as that term is defined in section
                       101(14) of the Bankruptcy Code with respect to the matters upon which it
                       is to be engaged;

                (g)    In its capacity as Claims, Noticing and Solicitation Agent in these Chapter
                       11 Cases, Prime Clerk will not intentionally misrepresent any fact to any
                       person;

                (h)    Prime Clerk shall be under the supervision and control of the Clerk’s office
                       with respect to the receipt and recordation of claims and claim transfers;

                (i)    Prime Clerk will comply with all requests of the Clerk’s office and the
                       guidelines promulgated by the Judicial Conference of the United States for
                       the implementation of 28 U.S.C. § 156(c); and



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                (j)     None of the services provided by Prime Clerk as Claims, Noticing and
                        Solicitation Agent in these Chapter 11 Cases shall be at the expense of the
                        Clerk’s office.

           6.   In accordance with section 327(a) of the Bankruptcy Code and Bankruptcy Rule

 2014, I caused to be submitted for review by our conflicts system the names of all known potential

 parties-in-interest (the “Potential Parties in Interest”) in these Chapter 11 Cases. The list of

 Potential Parties in Interest was provided by the Debtors and included, among other parties, the

 Debtors, non-Debtor affiliates, current and former directors and officers of the Debtors, significant

 stockholders, secured creditors, lenders, the Debtors’ 40 largest unsecured creditors on a

 consolidated basis and other parties. The results of the conflict check were compiled and reviewed

 by Prime Clerk professionals under my supervision. At this time, and as set forth in further detail

 herein, Prime Clerk is not aware of any connection that would present a disqualifying conflict of

 interest. Should Prime Clerk discover any new relevant facts or connections bearing on the matters

 described herein during the period of its retention, Prime Clerk will use reasonable efforts to file

 promptly a supplemental declaration.

           7.   To the best of my knowledge, and based solely upon information provided to me

 by the Debtors, and except as provided herein, neither Prime Clerk, nor any of its professionals,

 has any materially adverse connection to the Debtors, their creditors or other relevant parties.

 Prime Clerk may have relationships with certain of the Debtors’ creditors as vendors or in

 connection with cases in which Prime Clerk serves or has served in a neutral capacity as claims,

 noticing and solicitation agent and/or administrative advisor for another chapter 11 debtor.

           8.   Certain of Prime Clerk’s professionals were partners of or formerly employed by

 firms that are providing or may provide professional services to parties in interest in these cases.

 Such firms include O’Melveny & Myers LLP (“O’Melveny”); Kirkland & Ellis LLP; Weil,

 Gotshal & Manges LLP; Mayer Brown LLP; Fried, Frank, Harris, Shriver & Jacobson LLP;
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 Bracewell LLP; Proskauer Rose LLP; Curtis, Mallet-Prevost, Colt & Mosle LLP; Baker

 & Hostetler LLP; Togut, Segal &Segal LLP; Gibson, Dunn & Crutcher LLP; Willkie Farr &

 Gallagher, LLP; Centerview Partners LLC; KPMG LLP; PricewaterhouseCoopers LLP; Epiq

 Bankruptcy Solutions, LLC; Donlin, Recano & Company, Inc. and Kurtzman Carson Consultants

 LLC. Except as may be disclosed herein, these professionals did not work on any matters

 involving the Debtors while employed by their previous firms. Moreover, these professionals were

 not employed by their previous firms when these Chapter 11 Cases were filed.

           9.        Prime Clerk hereby discloses the following connections, each of which Prime Clerk

 believes do not present an interest adverse to the Debtors or preclude Prime Clerk from meeting

 the disinterestedness standard under the Bankruptcy Code and is disclosed solely out of an

 abundance of caution:

                    Howard A. Blaustein, Senior Managing Director of Prime Clerk, was formerly an
                     attorney with O’Melveny, counsel to the Debtors in these chapter 11 cases.
                     Mr. Blaustein left O’Melveny in 2003. Mr. Blaustein did not work on any matters
                     involving the Debtors during his time at O’Melveny.

                    A Consultant at Prime Clerk has a personal relationship with an Associate at Akin
                     Gump Strauss Hauer & Feld LLP, counsel to the Special Committee of the Board
                     of Directors of Debtor Remington Outdoor Company, Inc.

           10.       Prime Clerk has and will continue to represent clients in matters unrelated to these

 Chapter 11 Cases. In addition, Prime Clerk and its personnel have and will continue to have

 relationships personally or in the ordinary course of its business with certain vendors,

 professionals, financial institutions, and other parties in interest that may be involved in the

 Debtors’ Chapter 11 Cases. Prime Clerk may also provide professional services to entities or

 persons that may be creditors or parties in interest in these Chapter 11 Cases, which services do

 not directly relate to, or have any direct connection with, these Chapter 11 Cases or the Debtors.



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           11.   Prime Clerk and its personnel in their individual capacities regularly utilize the

 services of law firms, investment banking and advisory firms, accounting firms and financial

 advisors. Such firms engaged by Prime Clerk or its personnel may appear in Chapter 11 Cases

 representing the Debtors or parties in interest. All engagements where such firms represent Prime

 Clerk or its personnel in their individual capacities are unrelated to these Chapter 11 Cases.

           12.   Prime Clerk is an indirect subsidiary of Duff & Phelps LLP (“D&P”). D&P is the

 global advisor that protects, restores, and maximizes value for clients. Within the D&P corporate

 structure, Prime Clerk operates independently from D&P. As such, any relationships that D&P

 and its affiliates maintain do not create an interest of Prime Clerk that is materially adverse to the

 Debtors’ estates or any class of creditors or security holders. D&P is not currently identified on

 the Potential Parties in Interest list, but Prime Clerk makes this disclosure out of an abundance of

 caution.

           13.   As part of its conflicts check process, Prime Clerk submitted for review by each of

 its partners and employees the list of Potential Parties in Interest provided by the Debtors to

 determine whether any partner or employee holds an adverse interest to any of the Debtors and/or

 is a “disinterested person,” as such term is defined in the Bankruptcy Code. In addition, the

 partners and employees of Prime Clerk were asked to review their investment holdings, to the

 extent possible, to determine whether they have any direct or indirect ownership of the Debtors’

 securities. Upon information and belief, and upon such reasonable inquiry by Prime Clerk and the

 results thereof, Prime Clerk is not aware that any of its partners or employees directly or indirectly

 own any debt or equity securities of a company that is a Debtor or of any of its affiliates. Moreover,

 Prime Clerk has a policy prohibiting its partners and employees from using confidential

 information that may come to their attention in the course of their work. In this regard, subject to


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 non-discretionary Investment Funds (as defined below), all Prime Clerk partners and employees

 are barred from trading in securities with respect to matters in which Prime Clerk is retained.

           14.    As a general matter, in the infrequent case when a Prime Clerk partner or employee

 may, directly or indirectly, own a debt or equity security of a company which may become or

 becomes a debtor or a debtor affiliate, such ownership would be substantially less than one percent

 of any such debtor or debtor affiliate. Additionally, from time to time, Prime Clerk partners or

 employees may personally invest in mutual funds, retirement funds, private equity funds, venture

 capital funds, hedge funds and other types of investment funds (the “Investment Funds”), through

 which such individuals may indirectly acquire a debt or equity security of many companies, one

 of which may be one of the Debtors or their affiliates. Any partner or employee who has made

 any such investment does not manage or otherwise control such Investment Fund. The Investment

 Funds are managed by third parties, and Prime Clerk partners or employees that may invest in the

 particular Investment Fund have no influence, discretion, or control over the Investment Fund’s

 decision to buy, sell or vote any particular debt or equity securities comprising the particular

 Investment Fund and in certain instances, partners or employees may not be aware of the particular

 debt or equity securities comprising the particular Investment Fund.

           15.    Based on the foregoing, I believe that Prime Clerk is a “disinterested person” as

 that term is defined in section 101(14) of the Bankruptcy Code with respect to the matters upon

 which it is to be engaged. Moreover, to the best of my knowledge and belief, neither Prime Clerk

 nor any of its partners or employees hold or represent any interest materially adverse to the

 Debtors’ estates.

           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct to the best of my information, knowledge and belief.


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 Executed on July 27, 2020
                                        /s/ Benjamin J. Steele
                                        Benjamin J. Steele
                                        Vice President
                                        Prime Clerk LLC
                                        One Grand Central Place
                                        60 East 42nd Street, Suite 1440
                                        New York, New York 10165




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                                  EXHIBIT B


                                 Proposed Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ALABAMA
                                      NORTHERN DIVISION


     In re:                                                          Chapter 11

     REMINGTON OUTDOOR COMPANY, INC.,                                Case No. 20-81688-11
     et al.,1
                                                                     Joint Administration Requested
                                    Debtors.


                        ORDER AUTHORIZING
   THE EMPLOYMENT AND RETENTION OF PRIME CLERK LLC AS CLAIMS,
 NOTICING AND SOLICITATION AGENT EFFECTIVE AS OF THE PETITION DATE

              Upon the application (the “Application”)2 of the above-captioned debtors and debtors in

 possession (collectively, the “Debtors”) for entry of an order (this “Order”) pursuant to 28 U.S.C.

 § 156(c) and sections 105(a) and 327(a) of the Bankruptcy Code (a) authorizing the Debtors to

 employ and retain Prime Clerk LLC (“Prime Clerk”) as claims, noticing and solicitation agent

 for the Debtors (“Claims, Noticing and Solicitation Agent”) effective as of [July 27, 2020] (the

 “Petition Date”), in accordance with the terms and conditions of that certain engagement

 agreement executed on May 12, 2020, including any amendments and schedules thereto (the

 “Engagement Agreement”) attached hereto as Exhibit 1, and (b) granting related relief, all as

 more fully set forth in the Application; and upon the Steele Declaration submitted in support of

 the Application; and upon the First Day Declaration; and it appearing that (i) the Court has

 jurisdiction over these Chapter 11 Cases and the Application under 28 U.S.C. §§ 1334(b) and 157,


 1
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding Company, LLC (9899); FGI
 Operating Company, LLC (9774); Remington Arms Company, LLC (0935); Barnes Bullets, LLC (8510); TMRI, Inc.
 (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109); Remington Arms Distribution Company, LLC (4655);
 Huntsville Holdings LLC (3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor
 Services, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard SW, Huntsville,
 AL 35824.
 2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Application.
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 and the Amended General Order of Reference from the United States District Court for the

 Northern District of Alabama dated as of July 17, 1984, (ii) venue of these Chapter 11 Cases and

 the Application in this Court is proper under 28 U.S.C. §§ 1408 and 1409 and Local Bankruptcy

 Rule 1073-1, (iii) the Application is a core proceeding pursuant to 28 U.S.C. § 157(b), and the

 Court may enter a final order consistent with Article III of the United States Constitution, and

 (iv) notice of the Application was adequate and proper under the circumstances, and no other or

 further notice need be given; and this Court having found that the relief requested in the

 Application is in the best interests of the Debtors’ estates, their creditors, and other parties in

 interest; and this Court having found that the Debtors’ notice of the Application and opportunity

 for a hearing on the Application were appropriate under the circumstances and no other notice

 need be provided; and this Court having reviewed the Application and having heard the statements

 in support of the relief requested therein at a hearing before this Court (the “Hearing”); and this

 Court having determined that the legal and factual bases set forth in the Application and at the

 Hearing establish just cause for the relief granted herein; and upon all of the proceedings had

 before this Court; and after due deliberation and sufficient cause appearing therefor, it is HEREBY

 ORDERED, ADJUDGED, AND DECREED THAT:

           1.   The Application is GRANTED as set forth herein.

           2.   The Debtors are authorized to employ and retain Prime Clerk as Claims, Noticing

 and Solicitation Agent effective as of the Petition Date under the terms set forth in this Order.

           3.   Prime Clerk is authorized and directed to perform noticing services and to receive,

 maintain, record and otherwise administer the proofs of claim filed in these Chapter 11 Cases, and

 all related tasks, all as described in the Application, the Engagement Agreement, and this Order.




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 The Clerk shall provide Prime Clerk with ECF credentials that allow Prime Clerk to receive ECF

 notifications and file certificates of service.

           4.    Prime Clerk shall serve as the custodian of court records and shall be designated as

 the authorized repository for all proofs of claim filed in these Chapter 11 Cases and is authorized

 and directed to maintain official claims registers for each of the Debtors, to provide public access

 to every proof of claim unless otherwise ordered by the Court and to provide the Clerk with a

 certified duplicate thereof upon the request of the Clerk.

           5.    Prime Clerk is authorized and directed to provide an electronic interface for filing

 proofs of claim and to obtain a post office box or address for the receipt of proofs of claim. Prime

 Clerk shall provide public access to the claims register, including complete proofs of claim with

 attachments, if any, without charge.

           6.    Prime Clerk is authorized to take such other action to comply with all duties set

 forth in the Application.

           7.    The Debtors are authorized to compensate Prime Clerk in accordance with the

 terms of the Engagement Agreement upon the receipt of reasonably detailed invoices setting forth

 the services provided by Prime Clerk and the rates charged for each, and to reimburse Prime Clerk

 for all reasonable and necessary expenses it may incur, upon the presentation of appropriate

 documentation, without the need for Prime Clerk to file fee applications or otherwise seek Court

 approval for the compensation of its services and reimbursement of its expenses.

           8.    Prime Clerk shall maintain records of all services showing dates, categories of

 services, fees charged and expenses incurred, and shall serve monthly invoices on the Debtors, the

 Bankruptcy Administrator, counsel for the Debtors, counsel for any official committee monitoring




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 the expenses of the Debtors, and any party-in-interest who specifically requests service of the

 monthly invoices.

           9.    The parties shall meet and confer in an attempt to resolve any dispute that may arise

 relating to the Engagement Agreement or monthly invoices; provided that the parties may seek

 resolution of the matter from the Court if resolution is not achieved.

           10.   Without further order of the Court, pursuant to section 503(b)(l)(A) of the

 Bankruptcy Code, the fees and expenses of Prime Clerk under this Order shall be an administrative

 expense of the Debtors’ estates.

           11.   Prime Clerk may apply its advance to all prepetition invoices, which advance shall

 be replenished to the original advance amount, and thereafter, Prime Clerk may hold its advance

 under the Engagement Agreement during the Chapter 11 Cases as security for the payment of fees

 and expenses incurred under the Engagement Agreement.

           12.   The Debtors shall indemnify the Indemnified Parties (as defined in the Engagement

 Agreement) under the terms of the Engagement Agreement, as modified pursuant to this Order.

           13.   Prime Clerk shall not be entitled to indemnification, contribution or reimbursement

 pursuant to the Engagement Agreement for services other than the services provided under the

 Engagement Agreement, unless such services and the indemnification, contribution or

 reimbursement therefor are approved by the Court.

           14.   Notwithstanding anything to the contrary in the Engagement Agreement, the

 Debtors shall have no obligation to indemnify the Indemnified Parties, or provide contribution or

 reimbursement to Prime Clerk, for any claim or expense that is either: (i) judicially determined

 (the determination having become final) to have arisen solely from Prime Clerk’s gross negligence,

 willful misconduct, or fraud; (ii) for a contractual dispute in which the Debtors allege the breach


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 of Prime Clerk’s contractual obligations if this Court determines that indemnification,

 contribution, or reimbursement would not be permissible under applicable law; or (iii) settled prior

 to a judicial determination under (i) or (ii), but determined by this Court, after notice and a hearing,

 to be a claim or expense for which Prime Clerk should not receive indemnity, contribution or

 reimbursement under the terms of the Engagement Agreement as modified by this Order.

               15.   If, before the earlier of (i) the entry of an order confirming a chapter 11 plan in

  these Chapter 11 Cases (that order having become a final order no longer subject to appeal), or

  (ii) the entry of an order closing these Chapter 11 Cases, Prime Clerk believes that it is entitled to

  the payment of any amounts by the Debtors on account of the Debtors’ indemnification,

  contribution and/or reimbursement obligations under the Engagement Agreement (as modified

  by this Order), including the advancement of defense costs, Prime Clerk must file an application

  therefor in this Court, and the Debtors may not pay any such amounts to Prime Clerk before the

  entry of an order by this Court approving the payment. This paragraph is intended only to specify

  the period of time under which the Court shall have jurisdiction over any request for fees and

  expenses by Prime Clerk for indemnification, contribution or reimbursement, and not a provision

  limiting the duration of the Debtors’ obligation to indemnify the Indemnified Parties. All parties

  in interest shall retain the right to object to any demand by the Indemnified Parties for

  indemnification, contribution or reimbursement. If Prime Clerk seeks reimbursement from the

  Debtors for attorneys’ fees and expenses in connection with the payment of an indemnity claim

  pursuant to the Engagement Agreement, the invoices and supporting time records for the

  attorneys’ fees and expenses shall be included in Prime Clerk’s own applications, both interim

  and final, and determined by this Court after notice and a hearing.




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               16.   In the event Prime Clerk is unable to provide the services set out in this order, Prime

  Clerk will immediately notify the Clerk and the Debtors’ attorneys and, upon approval of the

  Court, cause to have all proofs of claim and computer information turned over to another claims,

  noticing and solicitation agent with the advice and consent of the Clerk and the Debtors’ attorneys.

               17.   After entry of an order terminating Prime Clerk’s services, upon the closing of these

  cases, or for any other reason, Prime Clerk shall be responsible for archiving all proofs of claim

  with the Federal Archives Record Administration, if applicable, and shall be compensated by the

  Debtors in connection therewith.

               18.   The Debtors and Prime Clerk are authorized to take all actions necessary to

  effectuate the relief granted pursuant to this Order in accordance with the Application.

               19.   Notwithstanding any term in the Engagement Agreement to the contrary, the Court

  retains jurisdiction with respect to all matters arising from or related to the implementation,

  interpretation, and enforcement of this Order.

               20.   Notwithstanding any provision in the Bankruptcy Rules to the contrary, this Order

  shall be immediately effective and enforceable upon its entry.

               21.   Prime Clerk shall not cease providing claims processing services during the Chapter

  11 Cases for any reason, including nonpayment, without an order of the Court.

               22.   In the event of any inconsistency between the Engagement Agreement, the

  Application, the Steele Declaration and this Order, this Order shall govern.


 Dated: _______________, 2020
                                                           UNITED STATES BANKRUPTCY JUDGE




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                                  EXHIBIT 1

                        Prime Clerk Engagement Agreement




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                                                                  Prime Clerk I o�'�"';&PHELPs
 IN WITNESS WHEREOF, the parties hereto have executed this Agreement effective as of the date first
 above written.

  Prime Clerk LLC



  By: Shira Weiner
  Title: General Counsel



  Remington Outdoor Company, Inc.
  on behalf of itself and its affiliated entities


  By: �,1,.-:z1=...   .c.w,,-,,r�
  Title:
         C-/o




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RATES            Claim and Noticing Rates

                 TITLE                                                                                  HOURLY RATE
Quality.         Analyst                                                                                $30 - $50
Partnership.     The Analyst processes incoming proofs of claim, ballots and return mail, and
                 physically executes outgoing mailings with adherence to strict quality control
Expertise.
                 standards.
Innovation.
                 Technology Consultant                                                                  $35 - $95
                 The Technology Consultant provides database support for complex reporting
                 requests and administers complicated variable data mailings.


                 Consultant/Senior Consultant                                                           $65 - $165
                 The Consultant is the day-to-day contact for mailings, updates the case website,
                 prepares and executes affidavits of service, responds to creditor inquiries and
                 maintains the official claim register, including processing of claims objections and
                 transfers. Prime Clerk Consultants have between three and five years of
                 experience.


                 The Senior Consultant directs the data collection process for the master mailing
                 list and Schedules & SOFA, oversees all mailings, performs quality control
                 checks on all claims and ballots, and generates claim and ballot reports. Prime
                 Clerk’s Senior Consultants average over five years of experience.


                 Director                                                                               $175 - $195
                 The Director is the lead contact for the company, counsel and advisors on the
                 case engagement and oversees all aspects of the bankruptcy administration,
                 including managing the internal case team. In many instances, the executives of
                 Prime Clerk will serve in this role at this rate. Prime Clerk’s Directors have over
                 ten years of experience and are typically former restructuring attorneys or
                 paralegals.


                 Chief Operating Officer and Executive Vice President                                   No charge
                 Michael Frishberg, Prime Clerk’s COO, and Ben Schrag, Prime Clerk’s Executive
                 Vice President, both former restructuring attorneys with collectively over twenty
                 five years of experience, will add an additional supervisory layer to this matter at
                 no charge.




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RATES            Solicitation, Balloting and Tabulation Rates
                 TITLE                                                                                   HOURLY RATE
Quality.         Solicitation Consultant                                                                 $190
Partnership.     The Solicitation Consultant reviews, tabulates and audits ballots, and executes
                 plan solicitation and other public securities mailings. In addition, the Solicitation
Expertise.
                 Consultant prepares customized reports relating to voting and other corporate
Innovation.      events (such as exchange offers and rights subscriptions) and interfaces with
                 banks, brokers, nominees, depositories and their agents regarding solicitations
                 and other communications. Solicitation Consultants average over five years of
                 experience.


                 Director of Solicitation                                                                $210
                 The Director of Solicitation is the lead consultant in the plan solicitation process.
                 The Director oversees and coordinates soliciting creditor votes on a plan of
                 reorganization and will attest to solicitation processes and results. The Director
                 also advises on public securities noticing and related actions, including voting,
                 exchange offers, treatment elections, rights subscriptions and distributions and
                 coordinates with banks, brokers, nominees, their agents and depositories to
                 ensure the smooth execution of these processes. Prime Clerk’s Director of
                 Solicitation has over 15 years of experience and is a former restructuring attorney.


                 Printing and Noticing Services

                 Printing                                                                                $0.10 per page

                 Customization/Envelope Printing                                                         $0.05 each

                 Document folding and inserting                                                          No charge

                 Postage/Overnight Delivery                                                              Preferred Rates

                 Public Securities Events                                                                Varies by Event

                 E-mail Noticing                                                                         No charge

                 Fax Noticing                                                                            $0.05 per page

                 Proof of Claim Acknowledgment Card                                                      No charge

                 Envelopes                                                                               Varies by Size


                 Newspaper and Legal Notice Publishing

                 Coordinate and publish legal notices                                                    Available on
                                                                                                         request




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                 Case Website
RATES            Case Website setup                                             No charge

Quality.         Case Website hosting                                           No charge

Partnership.     Update case docket and claims register                         No charge

Expertise.
                 Client Access
Innovation.
                 Access to secure client login (unlimited users)                No charge

                 Client customizable reports on demand or via scheduled email   No charge
                 delivery (unlimited quantity)

                 Real time dashboard analytics measuring claim and ballot       No charge
                 information and document processing status


                 Data Administration and Management

                 Inputting proofs of claim and ballots                          Standard hourly rates
                                                                                (no per claim or
                                                                                ballot charge)

                 Electronic Imaging                                             $0.12 per image

                 Data Storage, maintenance and security                         $0.10 per record
                                                                                per month

                 Virtual Data Rooms                                             Available on request


                 On-line Claim Filing Services

                 On-line claim filing                                           No charge

                 Call Center Services
                 Case-specific voice-mail box                                   No charge

                 Interactive Voice Response (“IVR”)                             No charge

                 Monthly maintenance                                            No charge

                 Call center personnel                                          Standard hourly rates

                 Live chat                                                      Standard hourly rates


                 Disbursement Services
                 Check issuance and/or Form 1099                                Available on request

                 W-9 mailing and maintenance of TIN database                    Standard hourly rates




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